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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) RICHARD WAYNE HICKS,                             )
                                                     )
       Plaintiff,                                    )
                                                     )                 CIV-17-296-F
                                                             Case No.: _________________
vs.                                                  )
                                                     )
(1) CITY OF FAIRVIEW, OKLAHOMA, and                  )       ATTORNEY LIEN CLAIMED
(2) CHARLES GADD                                     )       JURY TRIAL DEMANDED
                                                     )
       Defendants.                                   )

                                          COMPLAINT

       COMES NOW the Plaintiff, Richard Wayne Hicks (“Plaintiff Hicks”) or (“Hicks”), and

for his Complaint against Defendants alleges and states as follows:

                          PARTIES, JURISDICTION, AND VENUE

       1.       Plaintiff Richard Hicks is a resident of Blaine County, Oklahoma.

       2.       Defendant Charles Gadd (“Chief Gadd” or “Defendant Gadd”) was at all times

relevant hereto, the Acting Chief of Police for the City of Fairview, Oklahoma and based upon

information and belief was a resident of Major County, Oklahoma at the time of the incidents

described herein.

       3.       Defendant City of Fairview (“City of Fairview”) or (“City”), Oklahoma is a

municipality located in Major County, State of Oklahoma.

       4.       The acts giving rise to this lawsuit occurred in Major County, State of Oklahoma.

       5.       Prior to bringing this Complaint, Plaintiff has complied with the tort claim notice

provisions of the Oklahoma Government Tort Claim Act (“GTCA”), 51 O.S. § 151, et seq by

notifying the City of Fairview of his intent to file State law claims in connection with the events




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and injuries described herein. The GTCA process has been exhausted. This action is timely

brought pursuant to 51 O.S. § 157.

       6.       The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1343 to secure

protection of and to redress deprivations of rights secured by the Fourth and/or Fourteenth

Amendments to the United States constitution as enforced by 42 U.S.C. § 1983, which provides

for the protection of all persons in their civil rights and the redress of deprivation of rights under

color of law.

       7.       The jurisdiction of this Court is also invoked under 28 U.S.C. § 1331 to resolve a

controversy arising under the Constitution and laws of the United States, particularly the Fourth

and/or Fourteenth Amendments to the United States Constitution and 42 U.S.C. § 1983.

       8.       This Court has supplemental jurisdiction over the state law claims asserted herein

pursuant to 28 U.S.C. § 1367, since the claims form part of the same case or controversy arising

under the United States Constitution and federal law.

       9.       Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the

events or omissions giving rise to Plaintiff’s claims occurred in this district.

                                   FACTUAL ALLEGATIONS

       10.      Paragraphs 1-9 are incorporated herein by reference.

       11.      On or about September 5, 2015, Plaintiff was arrested by William N. Meyer, a

Patrolman with the Fairview Police Department (“FPD”) on allegations of public intoxication.

       12.      During booking, Plaintiff informed the Major County Sheriff’s Office that he had

a ruptured disk in his back.

       13.      After being booked at the Major County Sheriff’s Office/Major County Jail,

Plaintiff walked out of the booking room and went into a public hallway.




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        14.     Patrolman Meyer chased after Plaintiff Hicks and brought him back to the Jail.

        15.     Patrolman Meyer had been on the phone with Acting Chief Gadd when Plaintiff

left the booking room, and Acting Chief Gadd arrived shortly thereafter. At this time, Plaintiff

was safely in the Jail and not fleeing, actively resisting or posing any threat.

        16.     Upon arrival, Defendant Acting Fairview Police Chief Gadd began talking to

Plaintiff. Defendant Gadd pulled Plaintiff up from the chair where he was seated in order to

handcuff him. However, Defendant Gadd pushed down on the cuffs so hard it injured Plaintiff’s

wrists. When Defendant Hicks began to cry out in pain, due to Gadd’s excessive use of force,

Gadd threw Hicks on the ground and began to push down harder on the handcuffs. At this time,

Plaintiff was: 1) unarmed; 2) not fleeing custody; 3) not resisting; and 4) not posing a threat to

himself, Defendant Gadd, or anyone else.

        17.     As Plaintiff continued to cry out in pain, Defendant Gadd raised Plaintiff up and

shoved him belly first into a chair. Defendant also shoved Plaintiff’s head into a mailbox. At this

point in the assault, Plaintiff cried out that his neck was hurt.

        18.     In response to Plaintiff’s cries, Defendant Gadd shoved Plaintiff into a holding

cell and against the wall. Defendant Gadd then pounded his closed fist into the temple of

Plaintiff Hicks’ head.

        19.     As Plaintiff was yelling for someone to help, Defendant Gadd pushed Plaintiff

Hicks onto the hard floor where he got on top of Hicks and began choking him. Employees of

the Major County Sheriff’s Office told Defendant Gadd to stop the assault on Plaintiff but

Defendant would not stop.

        20.     These acts committed by Defendant Gadd constitute excessive and unreasonable

force in violation of Plaintiff’s clearly established constitutional rights.




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       21.     After the assault finally ended, Major County Sheriff’s Office employees called

an ambulance and requested Patrolman Meyer watch Plaintiff Hicks’ cell so that Acting Chief

Gadd could not assault him again.

       22.     An ambulance arrived and after Plaintiff Hicks was examined, Officer Chris Fike

of the Fairview Police Department subsequently transported Plaintiff to the hospital. After being

treated at the hospital, Plaintiff was transported back to the Major County Jail.

       23.     Plaintiff was brutally assaulted by then Acting Chief of Fairview Police,

Defendant Charles Gadd in violation of his constitutionally protected rights and common law tort

principles. The use of force occurred at the Major County Jail in Fairview, Oklahoma but was the

result of the actions of Acting Chief Charles Gadd of the Fairview Police Department, who has a

history of excessive force and violence prior to his employment with the City of Fairview.

       24.     Due to the assault, Plaintiff suffered severe physical injuries to his neck, head,

back, and leg. Plaintiff also suffered emotional and mental pain and anguish.

       25.     At the time of the assault, Defendant Gadd was acting under the color of State law

and within the scope of his employment with the Fairview Police Department.

       26.     Defendant Charles Gadd was hired by the City of Fairview after he was

disciplined by his previous employer, the Tulsa Public Schools, for excessive use of force while

working as a campus police officer. The City knew, by actual or constructive knowledge, of

Defendant’s history of using excessive force and that Defendant Gadd posed a significant risk to

the public. During his time with the Tulsa Public Schools, Defendant Gadd was accused of

excessive force involving choking a student and slamming the student’s head against the wall.

       27.     Despite Defendant’s violent history, the City of Fairview not only hired

Defendant Gadd as a police officer, they put him in the position of Acting Chief of Police. As




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Acting Chief of Police, Gadd was in a position to supervise the entire Fairview Police

Department, implement and make its policies. This act, of placing Gadd in the position of

overseeing the policies and operations of the Fairview Police Department, demonstrates that the

City of Fairview had a policy or custom of encouraging, acquiescing to the excessive use of

force. Its inexcusably reckless decision to place Gadd in the ultimate position of power within

the Fairview Police is also evidence of the City’s failure to supervise and train their police

officers regarding the proper use of force.

                                     CAUSES OF ACTION

                                         CLAIM I
                               EXCESSIVE USE OF FORCE
                  (Fourth and/or Fourteenth Amendment; 42 U.S.C. § 1983)
                                    (Both Defendants)

       28.     Paragraphs 1-27 are incorporated herein by reference.

       29.     At the time of the complained of events, Mr. Hicks had a clearly established

constitutional right under the Fourth and/or Fourteenth Amendment to be secure in his person

and free from objectively unreasonable excessive force to injure him and his bodily integrity.

       30.     Any reasonable officer knew or should have known of these rights at the time of

the complained of conduct as they were clearly established at that time.

       31.     In the totality of the circumstances, at the time that the violent force as used by

Acting Chief Gadd, Mr. Hicks was: 1) unarmed; 2) not fleeing; 3) not resisting; and 4) posed no

threat to Gadd, himself, the officer, or anyone else. Furthermore, the offense for which Plaintiff

was arrested was neither serious nor violent.

       32.     The use of violent force by Gadd under such circumstances was excessive and

objectively unreasonable.




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       33.     Gadd applied objectively unreasonable and excessive physical force on Plaintiff

Hicks, thereby causing him serious bodily injures, as well as mental pain and anguish.

       34.     The use of force, as described herein, also involved reckless, callous, and

deliberate indifference to Mr. Hicks’ federally protected rights.

       35.     As a direct and proximate result of Gadd’s unlawful conduct, Mr. Hicks suffered

actual physical injuries, mental and physical pain and suffering and other damages and losses as

described herein entitling him to recover compensatory and special damages in amounts to be

determined at trial.

       36.     Plaintiff is entitled to punitive damages on his claims brought pursuant to 42

U.S.C. § 1983 as Defendants’ conduct, acts and omissions alleged here in constitute reckless or

callous indifferences to Mr. Hicks’s federally protected rights.

                                          CLAIM II
                                  ASSAULT AND BATTERY
                                      (City of Fairview)

       37.     Paragraphs 1- 36 are incorporated herein by reference.

       38.     In Oklahoma, an individual is liable for battery if “(a) he acts intending to cause a

harmful or offensive contact with the person of the other or a third person, or an imminent

apprehension of such a contact, and (b) a harmful contact with the person of the other directly or

indirectly results.” Brown v. Ford, 905 P.2d 223, 229 n. 34 (Okla.1995) (overruled on other

grounds) (quoting Restatement (Second) of Torts § 13).

       39.     Similarly, an individual is liable for assault if “(a) he acts intending to cause a

harmful or offensive contact with the person of the other or a third person, or an imminent

apprehension of such a contact, and (b) the other is thereby put in such imminent apprehension.”

Id. (quoting Restatement (Second) of Torts § 21).




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         40.   Such claims are subject to additional requirements when asserted as against a law

enforcement officer. Under Okla. Stat. tit. 21, § 643(1), “an action for assault and battery will not

lie for the use of force ‘when necessarily committed by a public officer in the performance of

any legal duty….’” Madoux v. City of Norman, No. CIV–07–435–M, 2007 WL 4171558, at *5

(W.D. Okla. Nov.20, 2007) (quoting Okla. Stat. tit. 21, § 643(1)) (emphasis added).

         41.   “An officer’s use of force is not ‘necessarily committed’ where such force is

excessive or unreasonable.” Payne v. Myers, 2015 WL 5775188, at *11 (N.D. Okla., Sept. 30,

2015).

         42.   Here, Gadd’s use of force on Hicks was intentional, offensive, unnecessary,

excessive, unreasonable and harmful.

         43.   At the time of the complained of events, Mr. Hicks, was: 1) unarmed; 2) not

resisting; 3) not feeling; and 4) posed no threat to himself, the officer. Or anyone else. Again, the

underlying cause of his arrest was for an offense that was neither serious nor violent.

         44.   In the totality of the circumstances, at the time that Charles Gadd began to use

force against Plaintiff Hicks, Plaintiff was unarmed and seated. Subsequently, Mr. Hicks was

placed in handcuffs, yet Charles Gadd persisted in his assault by shoving Plaintiff’s head into a

mailbox, throwing Plaintiff to the ground, choking Plaintiff, and hitting Plaintiff in the head.

Because Hicks did not pose any immediate threat and was not actively resisting when the assault

began, Gadd had no reasonable basis to employ any force on Hicks. Under the circumstances,

Gadd’s actions, including shoving Plaintiff’s head into a mailbox and choking Plaintiff while he

was handcuffed on the floor, clearly constitute unnecessary and excessive use of force.

         45.   Defendant Gadd’s assault on Plaintiff resulted in a violation of Plaintiff’s rights

causing him bodily injury, as well as mental pain and anguish.




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        46.     As a direct proximate result of Gadd’s unlawful conduct, Hicks suffered actual

physical injuries, mental and physical pain and suffering and other damages and losses as

described herein entitling Hicks to recover compensatory and special damages in amounts to be

determined at trial.

        47.     When Gadd assaulted and battered Hicks, he was acting within the scope of his

employment. More particularly, Gadd’s acts were “incident to … service[s] being performed for

[his] employer or ar[ose] out of an emotional response to actions being taken for the employer.”

Rodebush v. Oklahoma Nursing Homes, Ltd., 1993 OK 160, 867 P.2d 1241, 1245.

        48.     Thus, the Defendant City of Fairview is vicariously liable for Gadd’s conduct.

                                         CLAIM III
                             NEGLIGENT USE OF EXCESSIVE FORCE
                                      (City of Fairview)

        49.     Paragraphs 1 to 48 are incorporated herein by reference.

        50.     In Oklahoma, “[a] defendant is generally said to owe a duty of care to all persons

who are foreseeably endangered by his conduct with respect to all risks that make the conduct

unreasonably dangerous.” Morales v. City of Oklahoma City ex rel. Oklahoma City Police

Dep’t, 230 P.3d 869, 878 (Okla. 2010).

        51.     Because, however, the act of making an arrest necessarily involves some risk of

harm to the arrestee, “a police officer has a special dispensation from the duty of ordinary care

not to endanger others.” Id. at 880.

        52.     In particular, “[a] police officer’s duty … is to use only such force in making an

arrest as a reasonably prudent police officer would use in light of the objective circumstances

confronting the officer at the time of the arrest.” Id.

        53.     Here, Gadd owed a duty to Hicks to use only such force in securing his




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cooperation as a reasonably prudent police officer would use in light of the objective

circumstances confronting the officer at the time of the incident.

            54.   Gadd violated breached that duty by using objectively unreasonable and excessive

force as described herein.

            55.   As a direct proximate result of Gadd’s negligence, Hicks suffered actual physical

injuries, mental and physical pain and suffering and other damages and losses as described

herein entitling Hicks to recover compensatory and special damages in amounts to be determined

at trial.

            56.   At all pertinent times, Gadd was acting within the scope of his employment and,

thus, Defendant City of Fairview is vicariously liable for his negligent use of excessive force.

                                            CLAIM IV
                                    MUNICIPAL LIABILITY
                    (Fourth and/or Fourteenth Amendment; 42 U.S.C. § 1983)
                                         (City of Fairview)

            57.   Paragraphs 1 to 56 are incorporated herein by reference.

            58.   There is an affirmative link between the aforementioned excessive force utilized

by Defendant Gadd and the policies, practices and/or customs, for which the Defendant City of

Fairview promulgated, created, implemented and/or possessed responsibility.

            59.   First, the City of Fairview failed to properly supervise Defendant Gadd. As set

forth above, the City of Fairview utterly failed to assure Defendant Gadd was properly and

adequately supervised, despite his known lack of training, and propensity toward violence and

violation of Constitutional rights, as evidenced by his prior excessive use of force on two

students while he was employed with the Tulsa Public Schools. Furthermore, the City of

Fairview put Gadd in the position of Acting Police Chief when they knew, by actual or

constructive knowledge, or had reason to know Defendant Gadd had a history of using excessive



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force during his previous employment. This amounts to deliberate indifference to the federal

rights of persons with whom Defendant Gadd came into contact. Further, there is a direct causal

link between the constitutional deprivation and the inadequate supervision of Defendant Gadd.

       60.     Second, the City of Fairview utterly failed to properly train Defendant Gadd. As

set forth above, the Defendant’s lack of proper training is evidenced by his previous use of

excessive force while employed with Tulsa Public Schools. Further evidence of insufficient

training on the part of the City Of Fairview include: 1) Defendant’s assault on Plaintiff, which

shows he exceeded the constitutional limitations on the use of force; and 2) the fact that the use

of force in this case arose under circumstances that constitute a usual and recurring situation with

which police officers must deal.

       61.     Third, the very fact that the policymakers at the City placed Gadd in the position

of Acting Chief, with knowledge of his prior excessive use of force and/or proclivity for

violence, evinces an unconstitutional policy, which may be established through decisions of

employees with final policymaking authority.

       62.     Moreover, the policies or customs at issue reflected a deliberate or conscious

choice by the City, through its officials, to disregard a known risk of Constitutional violations.

       63.     As a direct and proximate result of the aforementioned policies, practices and

customs, Mr. Hicks suffered injuries and damages as alleged herein.

                                     PUNITIVE DAMAGES

       64.     Paragraphs 1 to 63 are incorporated herein by reference.

       65.     Plaintiff is entitled to punitive damages on his claims as Defendants’ conduct,

acts, and omission alleged herein constitution reckless or callous indifference to Plaintiff’s rights.

                                     PRAYER FOR RELIEF




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       WHEREFORE, based on the foregoing, Plaintiff prays this Court grant him the relief

sought, including but not limited to actual and compensatory damages in excess of Seventy-Five

Thousand Dollars ($75,000.00), with interest accruing from the date of filing suit, the costs of

bringing this action, a reasonable attorneys’ fee, along with such other relief as is deemed just

and equitable.

DATED this 17 day of March 2017.

                                            Respectfully submitted,
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
                                            /s/Daniel E. Smolen        
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